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 1 Whitney C. Wilcher, Esq.
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   (702) 466-1959
 5 Email: wcw@nevadaada.com
 6 Attorney for Plaintiff
 7                      IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA
 8
      Kevin Zimmerman, an individual,
 9                                                Civil Action No: 17-cv-01431-GMN-GWF
10                         Plaintiff,
      v.
11                                                NOTICE OF VOLUNTARY DISMISSAL

12                                                          WITHOUT PREJUDICE
      Clemens Corp.,
13
                           Defendant.
14
15                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

16          PLEASE TAKE NOTICE, that pursuant to Federal Rule of Civil Procedure 41

17 (a)(1)(A)(i), Plaintiff, Kevin Zimmerman, hereby voluntarily dismisses this Action without
18 prejudice.
19          RESPECTFULLY submitted on this 26th day of October, 2017.
20
21                                                     /s/ Whitney C. Wilcher
                                                       Whitney C. Wilcher, Esq.
22                                                     THE WILCHER FIRM
                                                       Nevada State Bar No. 7212
23                                                     8465 West Sahara Ave, Ste 111-236
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                                                       Attorney for Plaintiff
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26
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28
          Case 2:17-cv-01431-GMN-GWF Document 12 Filed 10/26/17 Page 2 of 2



 1
 2                              CERTIFICATE OF SERVICE
 3
          I hereby certify that on this 26th day of October 2017, I electronically transmitted
 4 the foregoing document to the Clerk’s Office using the CM/ECF System for filing and
   mailed a copy of the foregoing to:
 5
 6
 7    Clemens Corp.
      c/o Cynthia C. Clemens- its Statutory Agent
 8    3995 W Sunset Rd
      Las Vegas, NV 89120
 9    Defendant
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